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                                    UNITED STATES DISTRICT COURT
                                   CENTRAL DISTRICT OF CALIFORNIA

                                        CIVIL MINUTES – GENERAL
   No.              CV 20-6979 FMO (ASx)                                        Date   November 12, 2020
   Title            Deniece Waidhofer, et al. v. Cloudflare, Inc., et al.



   Present: The Honorable            Alka Sagar, United States Magistrate Judge
                     Alma Felix                                                          N/A
                    Deputy Clerk                                               Court Reporter / Recorder
                Attorneys Present for Plaintiff:                         Attorneys Present for Defendant:
                         None Present                                             None Present


   Proceedings (In Chambers):                  Order DENYING Defendants Multi Media LLC and
                                               BangBros.com, Inc.’s Opposed Ex Parte Application for
                                               Order Compelling Production of Copyright Registrations
                                               and Deposit Materials (Dkt. Nos. 79-81)

        On November 10, 2020, Defendants Multi Media LLC and BangBros.com, Inc. (“Defendants”)
filed an opposed ex parte application for an order compelling Plaintiffs to produce copyright registration
certificates and deposit materials for their subject works. (Dkt. No. 79.) In their application, Defendants
argue that they need copies of the registration certificates and deposit materials to file their motion to
dismiss, which is due on November 18, 2020. (See id. at 6.) They further contend that Plaintiffs are
required to produce the registration certificates and deposit materials in their initial disclosures pursuant
to Federal Rule of Civil Procedure (“Rule”) 26. (See id. at 6-8.) On November 11, 2020, Plaintiffs filed
a response to Defendants’ ex parte application, in which they contend that the ex parte application is
procedurally improper and meritless under Rule 26. (Dkt. No. 80.) On November 12, 2020, Defendants
filed a reply in support of their ex parte application. (Dkt. No 81.)

      After reviewing the filings, the Court finds that Defendants are not entitled to production of these
documents at this time. As an initial matter, it does not appear that Plaintiffs were required to attach the
copyright registration certificates and deposit materials to plead copyright infringement in their First
Amended Complaint, in which they alleged they owned copyrights for the subject works and provided
copyright registration numbers and dates. See generally Malibu Textiles, Inc. v. Label Lane Int’l, Inc.,
922 F.3d 946, 951-52 (9th Cir. 2019) (a plaintiff “plausibly allege[d] it owns a valid copyright



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registration for its work” where it alleged it owned two subject works that were copyrighted and provided
the registration numbers but did not provide registration materials); Nintendo of America, Inc. v.
Storman, 2020 WL 2463374, at *2 (C.D. Cal. Jan. 15, 2020) (“the Complaint adequately alleges
ownership by alleging Plaintiff holds registered copyrights for the subject works and identifying the
copyright registration number and date for those works”).

        Moreover, it appears that all parties met and conferred on November 4, 2020, at which time they
agreed to submit their Rule 26 initial disclosures on November 13, 2020. (Dkt. No. 79-3 at 28-34, 40.)
Plaintiffs’ counsel indicated via email that they would provide Defendants with the copyright registration
certificates and the deposit materials as part of their initial disclosures on November 13, 2020. (Dkt. No.
79-3 at 16-22, 27-29, 36-38.) The parties disagree about whether Plaintiffs are required under Rule 26
to produce documents, even though Plaintiffs indicated they would produce these documents as part of
their initial disclosures. The Court is inclined to find that under case law and the plain language of Rule
26(a)(1)(A)(ii), Plaintiffs must disclose copies of documents or a description by category and location of
documents, and therefore Plaintiffs are not affirmatively required to produce the documents as part of
their initial disclosures. The Court, however, need not discuss this issue further here. In advance of
November 13, 2020 – the parties’ agreed-upon date to provide documents as part of their initial
disclosures – the Court finds that it would be premature to grant Defendants’ ex parte application and
compel Plaintiffs to produce the copyright registration certificates and deposit materials.

        Accordingly, Defendants’ ex parte application to compel production of Plaintiffs’ copyright
registration certificates and deposit materials [79] is DENIED. If the copyright registration certificates
and deposit materials are not produced in the initial disclosures on November 13, 2020, Defendants may
seek an immediate informal discovery conference to further address this issue.

         IT IS SO ORDERED.

cc:      Fernando M. Olguin
         United States District Judge

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                                                    Initials of Preparer   AF



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